Case 2:17-cv-03332-AB Document 1-2 Filed 07/26/17 Page 1 of 26
Case 2:17-cv-03332-AB Document 1-2 Filed 07/26/17 Page 2 of 26
Case 2:17-cv-03332-AB Document 1-2 Filed 07/26/17 Page 3 of 26
Case 2:17-cv-03332-AB Document 1-2 Filed 07/26/17 Page 4 of 26
Case 2:17-cv-03332-AB Document 1-2 Filed 07/26/17 Page 5 of 26
Case 2:17-cv-03332-AB Document 1-2 Filed 07/26/17 Page 6 of 26
Case 2:17-cv-03332-AB Document 1-2 Filed 07/26/17 Page 7 of 26
Case 2:17-cv-03332-AB Document 1-2 Filed 07/26/17 Page 8 of 26
Case 2:17-cv-03332-AB Document 1-2 Filed 07/26/17 Page 9 of 26
Case 2:17-cv-03332-AB Document 1-2 Filed 07/26/17 Page 10 of 26
Case 2:17-cv-03332-AB Document 1-2 Filed 07/26/17 Page 11 of 26
Case 2:17-cv-03332-AB Document 1-2 Filed 07/26/17 Page 12 of 26
Case 2:17-cv-03332-AB Document 1-2 Filed 07/26/17 Page 13 of 26
Case 2:17-cv-03332-AB Document 1-2 Filed 07/26/17 Page 14 of 26
Case 2:17-cv-03332-AB Document 1-2 Filed 07/26/17 Page 15 of 26
Case 2:17-cv-03332-AB Document 1-2 Filed 07/26/17 Page 16 of 26
Case 2:17-cv-03332-AB Document 1-2 Filed 07/26/17 Page 17 of 26
Case 2:17-cv-03332-AB Document 1-2 Filed 07/26/17 Page 18 of 26
Case 2:17-cv-03332-AB Document 1-2 Filed 07/26/17 Page 19 of 26
Case 2:17-cv-03332-AB Document 1-2 Filed 07/26/17 Page 20 of 26
Case 2:17-cv-03332-AB Document 1-2 Filed 07/26/17 Page 21 of 26
Case 2:17-cv-03332-AB Document 1-2 Filed 07/26/17 Page 22 of 26
Case 2:17-cv-03332-AB Document 1-2 Filed 07/26/17 Page 23 of 26
Case 2:17-cv-03332-AB Document 1-2 Filed 07/26/17 Page 24 of 26
Case 2:17-cv-03332-AB Document 1-2 Filed 07/26/17 Page 25 of 26
Case 2:17-cv-03332-AB Document 1-2 Filed 07/26/17 Page 26 of 26
